Case 23-11572-JKS Doci1 Filed 09/19/23 Page 1 of 30

AMID MO CeCur-leceem coll (eli CiMUn ell met: Li-e

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known) Chapter 7

OO Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Highland View LLC

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification  XX-XXXXXXX
Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

218 Silver Birch Lane
Bear, DE 19701

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
New Castle Location of principal assets, if different from principal
County place of business

Number, Street, City, State & ZIP Code

5. Debtor's website (URL)

6. Type of debtor Hi Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

DO) Partnership (excluding LLP)
CO Other. Specify:

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 23-11572-JKS Doci1 Filed 09/19/23 Page 2 of 30

Case number (if known)

Debtor Highland View LLC
Name
7. Describe debtor's business A. Check one:

O Health Care Business (as defined in 11 U.S.C. § 101(27A))
OO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
OC) Railroad (as defined in 11 U.S.C. § 101(44))

1 Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

0 Clearing Bank (as defined in 11 U.S.C. § 781(3))

i None of the above

B. Check all that apply
O Tax-exempt entity (as described in 26 U.S.C. §501)

0 investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes.

8. Under which chapter of the Check one:
Bankruptcy Code is the a
debtor filing? Chapter 7
A debtor who is a “small C1 Chapter 9
business debtor” must check
the first sub-box: Adebtor es O Chapter 11. Check all that apply:
defined in § 1182(1) who 1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
elects to proceed under noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
subchapter V of chapter 11 $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
(whether or not the debtor is a operations, cash-flow statement, and federal income tax return or if any of these documents do not
“small business debtor”) must exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
check iecseootiel Sub bes [1 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
Ol Apilan is being filed with this petition.
Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 117
(Official Form 207A) with this form.
The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O Chapter 12
9. Were prior bankruptcy HNo
cases filed by or against :
ye O Yes.

the debtor within the last 8
years?

If more than 2 cases, attach a a
separate list. District

District

When Case number

When Case number

Official Form 20%

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 2
Case 23-11572-JKS Doc1l

Debtor ~—_ Highland View LLC

Filed 09/19/23 Page 3 of 30

Case number (if known)

Name

10. Are any bankruptcy cases MH yo
pending or being filed by a

business partner or an O Yes.

affiliate of the debtor?

List all cases. If more than 1,

attach a separate list Debtor
District

When

Relationship
Case number, if known

11. Why is the case filed in Check all that apply:
this district?

HM Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

Ol Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Doesthedebtorownor [yo
have possession of any

real property or personal 1 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

property that needs
immediate attention? Why does the property need immediate attention? (Check all that apply.)
0 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?
CO It needs to be physically secured or protected from the weather.
C1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
0 Other
Where is the property?
Number, Street, City, State & ZIP Code
Is the property insured?
ONo
OlYes, Insurance agency
Contact name
Phone
ee Statistical and administrative information
13. Debtor's estimation of 5 Check one:

available funds

ll Funds will be available for distribution to unsecured creditors.

C After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of 1-49 O 1,000-5,000 0 25,001-50,000
creditors CO 50-99 1 5001-10,000 1 50,001-100,000
C1 100-199 1 10,001-25,000 0 More than100,000
D 200-999
15. Estimated Assets 0 $0 - $50,000 0 $1,000,001 - $10 million CO $500,000,001 - $1 billion

0 $50,001 - $100,000
0 $100,001 - $500,000
i $500,001 - $1 million

D1 $10,000,001 - $50 million
($50,000,001 - $100 million
1 $100,000,001 - $500 million

U1 $1,000,000,001 - $10 billion
CJ $10,000,000,001 - $50 billion
C More than $50 billion

16. Estimated liabilities OJ $0 - $50,000

C1 $1,000,001 - $10 million

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

(© $500,000,001 - $1 billion

page 3
Case 23-11572-JKS Doci1 Filed 09/19/23 Page 4 of 30

Debtor Highland View LLC Case number (if known)
Name
O $50,001 - $100,000 DC $10,000,001 - $50 million C1 $1,000,000,001 - $10 billion
I $100,001 - $500,000 1 $50,000,001 - $100 million 1 $10,000,000,004 - $50 billion
1 $500,001 - $1 million O $100,000,001 - $500 million 0 More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 23-11572-JKS Doci1 Filed 09/19/23 Page 5 of 30

Debtor Highland View Lic Case number (if known)

Name

Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on OF “¢ LORG

MM/DD/YYYY
cy
YO Y
x JbLL Alcove Bobby R. Crouse
Signature of ayifiorized representative of debtor Printed name

Title Member

|) AL

sntimesrsony X( SA_C Lz we VEL 23

“Signature of attorney pe MM /DD /Y¥YY

Charles J. Brown, |

Printed name

Gellert Scali Busenkell & Brown, LLC

Firm name

1201 N. Orange Street
Suite 300
Wilmington, DE 19801

Number, Street, City, State & ZIP Code

Contact phone 302-425-5813 Emailaddress cbrown@gsbblaw.com

3368 DE
Bar number and State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5

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ACTION BY WRITTEN CONSENT
OF THE MEMBERS OF HIGLAND VIEW LLC

August 3, 2023

The undersigned, Bobby Crouse, Sylvia Crouse, Shayn Sheats and David Sheats, being
the Members (the “Members”) of Highland View LLC, a Delaware limited liability corporation
(the “Company”), acting by written consent, does hereby consent and agree to the adoption of
the resolutions set forth below taking or authorizing the actions specified therein with the same
force and effect as if such resolutions were approved and adopted at a duly constituted meeting
of the members of the Company.

WHEREAS, the Members have determined that the Company is unable to meet its
obligations as they become due in the usual course of business, and can no longer continue in
business profitably;

WHEREAS, various creditors have threatened to prosecute their claims against the
Company; and

WHEREAS, the Members have determined that it would be in the best interests of the
Company for the Company to file a voluntary petition under Chapter 7 of Title 11 of the United
States Code (the “Bankruptcy Code”).

NOW THEREFORE, LET IT BE RESOLVED, that the Company file as soon as
practicable a bankruptcy in accordance with Chapter 7 of the Bankruptcy Code.

RESOLVED FURTHER, that Bobby Crouse (the “Authorized Person”), hereby is,
authorized, empowered and directed to execute, deliver and file the voluntary petition of
Highland View LLC under chapter 7 of title 11 of the United States Code in the name of and on
behalf of the Company.

RESOLVED FURTHER, that the Authorized Person is hereby authorized, empowered
and directed to execute and deliver any other instrument, certificate, document or other
agreement to be delivered in connection with the Amendment in the name and on behalf of the
Company, and to take all such actions as the Authorized Person deems necessary or advisable in
connection therewith.

RESOLVED FURTHER, that the execution by the Authorized Person of any document
authorized by the foregoing resolutions, or any document executed by the Authorized Person in
the accomplishment of any action or actions so authorized, is the enforceable and binding act and
obligation of the Company.

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This Action by Written Consent of the Members is to be filed with the minutes of each of
the proceedings of the members, and shall have the same force and effect as an action taken at
each of a duly convened meeting of the members of the Company.

This Action by Written Consent of the Members may be delivered via facsimile or
electronic mail with the intention that it shall have the same force and effect as the original
executed counterpart thereof.

IN WITNESS WHEREOF, the undersigned has duly executed this Action by Written
Consent of the Members as of the date first above written.

HIGHLAND VIEW LLC

7

Cdytvrds fbi
SYLVIA CROUSE
MEMBER

SP - oo LU Y
Zh " fe
Bobby CROUSE
MEMBER

VV NU. L~t4gn Sle ah

SHAYN SHEATS
MEMBER

DAVID SHEATS
MEMBER

Lohr LZ LA =—

LLOYD SHEATS
MEMBER

S™ / Jb; Le
CAROL Saeays
MEMBER

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Debtorname Highland View LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

O Check if this is an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors ins

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,

4519, and 3571.

} Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a declaration

OOOS RB

| declare under penalty of perjury that the foregoing is true and correct.

Executed on ORL LG 262 7 x LELBAC tp vias

Signature of individual signing on behalf of debtor

Bobby R. Crouse

Printed name

Member

Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 23-11572-JKS Doci1 Filed 09/19/23 Page 9 of 30

B2030 (Form 2030) (12/15)
United States Bankruptcy Court
District of Delaware

Inre _ Highland View LLC Case No.

Debtor(s) Chapter ¢

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that | am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept $ 8,000.00
Prior to the filing of this statement I have received $ 8,000.00
Balance Due $ 0.00

2. The source of the compensation paid to me was:

O Debtor Other (specify): Principals of the Debtor

3. The source of compensation to be paid to me is:

O Debtor HM Other (specify): Principals of the Debtor

4, @ [ have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

QO Thave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. Inreturn for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
[Other provisions as needed]
Preparation and filing of any petition, schedules, statement of affairs which may be required.
Representation of the Debtor(s) at the initial first meeting of creditors.

Pee oP

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
*Any post-petition service that is a contested matter, including but not limited to: Motions to Dismiss, Motions to
Convert, additional 341 appearances, Adversary Complaints, Appeals, Dischargeability actions, lien avoidances
actions, Relief from Stay, or any other matter which requires additional time based on an hourly file.

*notated in retainer as fee/costs additonal (post-petition)

CERTIFICATION
I certify that the seers is a complete statement of any agreement or ent for paymen’ é for representation of the debtor(s) in
this bankruptcy proceeding
ce
W156 [23
a,

Date shane ams Brown,
Signature of Altorn
Gellert Scali Busenkell & Brown, LLC
1201 N. Orange Street
Suite 300
Wilmington, DE 19801
302-425-5813 Fax: 302-425-5814
cbrown@gsbblaw.com
Name of law firm

Case 23-11572-JKS Doci1 Filed 09/19/23 Page 10 of 30

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Debtorname Highland View LLC

United States Bankruptcy Court forthe: DISTRICT OF DELAWARE

Case number (if known)

Official Form 206Sum

O Check if this is an
amended filing

Summary of Assets and Liabilities for Non-Individuals 12/15
[EE Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
ja. Real property:
Copy line 88 from Schedule A/B.......sscsssccscssscsscsssssssssssesssssssssssvscssessssossssesssesesssesesssssnssssssseeeeseeeseseensssgusnsnentisineeses $ 450,000.00
1b. Total personal property:
Gopy line G1A from SOMEONE ANB e.coses.c.5scs.cccsssusecoscesaavcccaceatusssca cane sssauscevuseuseawencusbenbcachusccuvessseuseiuviaraevuenasbeedi $ 292,000.00
1c. Total of all property:
Copy line 92 from Schedule AVB.ssesscsscsisascsstssecscnaniaien shanna diate Guede ineiesiece eT $ 742,000.00
GEE summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.............:-::10cseeees $ 0.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a Of SCHECUIC E/F........secccsescetsceeeenceneeeneceseecrscesenaecnectsensenaeeesesees $ 0.00
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F............ccceecccesseseseeeeeeeseaneeee +$ 314,357.92
4 “Tote UABATIOS ,....-.o-ncneni.n555s sek cxnsiessZasae505iia sg URRN GaN eg HRS w ena By US EEN eu Sa po ou ERG ea a Renee aa
Lines 2 + 3a + 3b $ 314,357.92
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Debtorname Highland View LLC

United States Bankruptcy Court forthe: DISTRICT OF DELAWARE

Case number (if known)

OO Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 1215

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

ONo. Go to Part 2.

@ Yes Fill in the information below.
All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (/dentify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. M&T Bank Non-Personal Checking 8892 $0.00
4. Other cash equivalents (/dentify all)
5. Total of Part 1. $0.00

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments

6. Does the debtor have any deposits or prepayments?

O No. Go to Part 3.
BB Yes Fill in the information below.

7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit

7.1. Bond - Shore United Bank $292,000.00

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment

9. Total of Part 2. $292,000.00
Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
Case 23-11572-JKS Doci1 Filed 09/19/23 Page 12 of 30

Debtor Highland View LLC Case number (if known)

Name

Accounts receivable

10. Does the debtor have any accounts receivable?

Hi No. Goto Part 4.
CO Yes Fill in the information below.

Investments

13. Does the debtor own any investments?

i No. Goto Part 5.
O Yes Fill in the information below.

Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

No. Go to Part 6.
C] Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

HE No. Go to Part 7.
DC Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

Hi No. Goto Parts.
O Yes Fill in the information below.

Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

Hi No. Go to Part 9.
CO Yes Fill in the information below.

Real property

54. Does the debtor own or lease any real property?

(No. Go to Part 10.
I Yes Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and Net book value of Valuation method used
property extent of debtor's interest for current value
Include street address or other debtor's interest (Where available)
description such as Assessor in property

Parcel Number (APN), and type
of property (for example,
acreage, factory, warehouse,
apartment or office building, if
available.

55.1. 304 Derik Ct., New
Castle DE 19720 Fee simple Unknown

Current value of
debtor's interest

Official Form 206A/B Schedule A/B Assets - Real and Personal Property
Case 23-11572-JKS Doc1l

Debtor Highland View LLC

Filed 09/19/23 Page 13 of 30

Case number (If known)

Name

552. 407 Nicholas Ct,

New Castle DE 19720 Fee simple Unknown $150,000.00
553. 403 Nicholas Ct.,

New Castle DE 19720 Fee simple Unknown $150,000.00
554. 9 sylvia Way, New Dedicated

Castle DE 19720 open space Unknown Unknown
55.5. QNicholas Ct,New Dedicated

Castle DE 19270 open space Unknown Unknown

56. Total of Part 9. $450,000.00

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.

Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?

BNo
O Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

BNo
O Yes

een ath Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?

No. Goto Part 11.
OO Yes Fill in the information below.

All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

Hi No. Go to Part 12.
C1 Yes Fill in the information below.

Official Form 206A/B

Schedule A/B Assets - Real and Personal Property

page 3

Case 23-11572-JKS Doci1 Filed 09/19/23 Page 14 of 30

Debtor Highland View LLC

Case number (if known)

Name

summary

In Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

91.

92.

Official Form 206A/B

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy fine 56, Part 9. ccssscsssesaccessecsssscsvnecrareavaracocancennssmsencanaessansenrvomstseuavecvannavecve

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 17.

Current value of
personal property

$0.00

$292,000.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

Current value of real

property

$450,000.00

Total. Add lines 80 through 90 for each column

$292,000.00

+ 91b.

$450,000.00

Total of all property on Schedule A/B. Add lines 91a+91b=92

Schedule A/B Assets - Real and Personal Property

$742,000.00

page 4
Case 23-11572-JKS Doci1 Filed 09/19/23 Page 15 of 30

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Debtorname Highland View LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

(1 Check if this is an
amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?

IB No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
O Yes. Fill in all of the information below.

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
Case 23-11572-JKS Doci1 Filed 09/19/23 Page 16 of 30

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Debtorname Highland View LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

O Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

(GEXRRME List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

BB No. Go to Part 2.

C1 Yes. Go to line 2.

[GER2SME List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply. $150,000.00
Bobby R. Crouse and Sylvia H. Crouse DO Contingent
218 Silver Birch Lane O unliquidated
Bear, DE 19701 O disputed
Date(s) debt was incurred _ Basis for the claim: Bond posted
Last 4 digits of account number _
Is the claim subject to offset? a No C1 yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $150,000.00
Lloyd Sheats and David Sheats C1 Contingent
209 Thomas Landing Road OD unliquidated
Bear, DE 19701 0 visputed
Date(s) debt was. incurred... Basis for the claim: Bond posted
Last 4 digits of account number __
Is the claim subject to offset? No (J Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
New Castle County I contingent
Dept. of Land Use I ividicuidistea
87 Reads Way maueee
New Castle, DE 19720 MM Disputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Ml No O1 yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $2,965.08
New Castle County BB contingent
Office of Code Enforcement Oh iniicniicibiet
87 Read's Way mae
New Castle, DE 19720 Mi disputed
Date(s) debt was incurred _ Basis for the claim: _107 Nicholas Ct.
Last 4 digits of account number _ Is the claim subject to offset? Ml No O1 yes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 3

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Highland View LLC

Case number (if known)

Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,070.00
New Castle County I contingent
Office of Code Enforcement BB Unliquidated
87 Read's Way —
New Castle, DE 19720 B bisputed
Date(s) debt was incurred _ Basis for the claim: 103 Nicholas Ct.
Last 4 digits of account number _ Is the claim subject to offset? Ml No C1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,553.45
New Castle County I contingent
Office of Code Enforcement Oh Uiiiceideied
87 Read's Way ee
New Castle, DE 19720 BH bisputed
Date(s) debt was incurred _ Basis for the claim: 304 Derik Ct.
Last 4 digits of account number _ is the claim subject to offset? Ml No 1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $3,152.56
New Castle County I contingent
Office of Code Enforcement BB Liivicuiagted
87 Read's Way ona
New Castle, DE 19720 M pisputed
Date(s) debt was incurred _ Basis for the claim: 0 Nicholas Ct.
Last 4 digits of account number _ Is the claim subject to offset? Mino Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $3,616.83
New Castle County i contingent
Office of Code Enforcement Bb Uicuibiced
87 Read's Way mauiesre
New Castle, DE 19720 BH bisputed
Date(s) debt was incurred _ Basis for the claim: 0 Sylvia
Last 4 digits of account number _ Is the claim subject to offset? Hino Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown

St. Georges Crossing Maintenance Corp.
608 Dane Court
New Castile, DE 19720

Date(s) debt was incurred _

a Contingent
BB Unliquidated
O Disputed

Basis for t im:
Last 4 digits of account number _ mes: for the claim...

Is the claim subject to offset? Myo Oves

List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

On which line in Parti or Part 2 is the
related creditor (if any) listed?

Name and mailing address

Last 4 digits of
account number, if

any
Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
Total of claim amounts
5a. Total claims from Part 1 5a. $ 0.00
5b. Total claims from Part 2 5b. + § 314,357.92
Sc. Total of Parts 1 and 2
Lines 5a + 5b = 5c, 5c. $ 314,357.92

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor Highland View LLC Case number (if known)

Name

Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 3
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bet 1

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Debtor name

Highland View LLC

United States Bankruptcy Court for the:

Case number (if known)

DISTRICT OF DELAWARE

O Check if this is an
amended filing

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
Il No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

0 Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal

(Official Form 206A/B).

2. List all contracts and unexpired leases

2.1 State what the contract or
lease is for and the nature

of the debtor's interest

State the term remaining

List the contract number of

any government contract

Property

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.2 State what the contract or
lease is for and the nature

of the debtor's interest

State the term remaining

List the contract number of

any government contract

2.3 State what the contract or
lease is for and the nature

of the debtor's interest

State the term remaining

List the contract number of

any government contract

2.4 State what the contract or
lease is for and the nature

of the debtor's interest

State the term remaining

List the contract number of

any government contract

Official Form 206G

Schedule G: Executory Contracts and Unexpired Leases

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Debtorname Highland View LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

1 Check if this is an
amended filing

Official Form 206H
Schedule H: Your Codebtors 42115

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

Wl No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
0 Yes
2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of

creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
24 Ob
Street O E/F
OG
City State Zip Code
2.2 Op
Street O E/F
OG
City State Zip Cade
2.3 Op
Street OeE/F
OG
City State Zip Code
2.4 Ob
Street O E/F
OG
City State Zip Code

Official Form 206H Schedule H: Your Codebtors Page 1 of 1
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Debtorname Highland View LLC

United States Bankruptcy Court for the: DISTRICT OF DELAWARE

Case number (if known)

1 Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Income

1. Gross revenue from business

None.
Identify the beginning and ending dates of the debtor’s fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (before deductions and

exclusions)
2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

(ERE List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Bi None.

Creditor’'s Name and Address Dates Total amount of value Reasons for payment or transfer
Check ail that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

I None.

Insider's name and address Dates Total amount of value § Reasons for payment or transfer
Relationship to debtor

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1
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Debtor Highland View LLC Case number (if known)
Hf None
Creditor's name and address Describe of the Property Date Value of property
6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

Mi None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

[EES Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

Bi None.
Case title Nature of case Court or agency's name and Status of case
Case number address

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

i None

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

i None

Recipient's name and address Description of the gifts or contributions Dates given Value

Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

Bi None
Description of the property lost and Amount of payments received for the loss Dates of loss Value of property
how the loss occurred lost

if you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
A/B: Assets — Real and Personal Property).

Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
relief, or filing a bankruptcy case.

0 None.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
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Debtor Highland View LLC Case number (if known)

Who was paid or who received lf not money, describe any property transferred Dates Total amount or
the transfer? value
Address
11.1. Gellert Scali Busenkell &
Brown, LLC
1201 N. Orange Street
Suite 300
Wilmington, DE 198014 6/21/2023 $8,000.00

Email or website address
cbhrown@gsbblaw.com

Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

i None.

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Hi None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

B Does not apply

Address Dates of occupancy
From-To

itzua:se Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

HM No. Goto Part 9,
© sYes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor’s care

Personally Identifiable Information

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3
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Debtor Highland View LLC Case number (if known)

16. Does the debtor collect and retain personally identifiable information of customers?

H No.

Ol Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

HM No. Go to Part 10.
Ol Yes. Does the debtor serve as plan administrator?

maith Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor’s benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

i None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
case.

i None

Depository institution name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

BB None

Facility name and address Names of anyone with Description of the contents Does debtor
access fo it still have it?

Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

Mi None

lam Ps Details About Environment Information

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
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Debtor Highland View LLC Case number (if known)

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

BH No.

O Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

HM No.

O Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

H No.

O Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

mimes Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

i None

Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
O None

Name and address Date of service
From-To
26a.1. National Income Tax Service Inc.
Attn: Teri Suddard
1450 Capitol Trail
Suite 108
Newark, DE 19711

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

IE None

26c, List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
None

Name and address If any books of account and records are
unavailable, explain why

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5
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Debtor Highland View LLC Case number (if known)
Name and address If any books of account and records are

unavailable, explain why
26c.1. Bobby R. Crouse
218 Silver Birch Lane
Bear, DE 19701

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

i None
Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

BH No

Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if
interest any
Bobby R. Crouse 218 Silver Birch Lane 25
Bear, DE 19701
Name Address Position and nature of any % of interest, if
interest any
Sylvia H. Crouse 218 Silver Birch Lane 25
Bear, DE 19701
Name Address Position and nature of any % of interest, if
interest any
Lloyd Sheats 209 Thomas Landing Road 25
Bear, DE 19701
Name Address Position and nature of any % of interest, if
interest any
David Sheats 820 Old Corbit Meadows Rd. 25

Middletown, DE 19709

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

HM No
Ol Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

H No
Ol Yes. Identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6
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Debtor Highland View LLC Case number (if known)

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

HB No
OYes. Identify below.
Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

H No
Ol Yes. Identify below.
Name of the pension fund Employer Identification number of the pension
fund

GEXGZEM Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on OP fl ers O24
{fp fo 7 7
A. lore Bobby R. Crouse

Signature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
HNo

1 Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7
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United States Bankruptcy Court
District of Delaware

Inre —_ Highland View LLC Case No.

Debtor(s) Chapter 7

VERIFICATION OF CREDITOR MATRIX

I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.

Date: Pf x (£023 Able HC Crtieit

Bobby R. Zrouse/Member
Signer/Title
Case 23-11572-JKS Doc1l

HIGHLAND VIEW LLC
218 SILVER BIRCH LANE
BEAR, DE 19701

CHARLES J. BROWN, III

GELLERT SCALI BUSENKELL & BROWN, LLC
1201 N. ORANGE STREET

SUITE 300

WILMINGTON, DE 19801

INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101

STATE OF DELAWARE
DEPARTMENT OF JUSTICE
ATTN: EDWARD KOSMOWSKI
820 N. FRENCH ST., 8TH FLOOR
WILMINGTON, DE 19801

BOBBY R. CROUSE AND SYLVIA H. CROUSE
218 SILVER BIRCH LANE
BEAR, DE 19701

LLOYD SHEATS AND DAVID SHEATS
209 THOMAS LANDING ROAD
BEAR, DE 19701

NEW CASTLE COUNTY
DEPT. OF LAND USE
87 READS WAY

NEW CASTLE, DE 19720

NEW CASTLE COUNTY

OFFICE OF CODE ENFORCEMENT
87 READ'S WAY

NEW CASTLE, DE 19720

SHORE UNITED BANK, NA
18 E DOVER ST
EASTON, MD 21601-3013

ST. GEORGES CROSSING MAINTENANCE CORP.
608 DANE COURT
NEW CASTLE, DE 19720

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United States Bankruptcy Court
District of Delaware

Inre —_ Highland View LLC Case No.

Debtor(s) Chapter 7

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Highland View LLC _ in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

@ None [Check if applicable]

WET (\ Ke AY

Date Charlés J. Brow is

Signature of Attorney or Litigant
Counsel for / Highland View LLC

Gellert Scali Busenkell & Brown, LLC
1201 N. Orange Street

Suite 300

Wilmington, DE 19801

302-425-5813 Fax:302-425-5814
cbrown@gsbblaw.com
